                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

ALFRED CHESTNUT,                                    )
et al.,                                             )
                                                    )
                                                    )
                              Plaintiffs,           )
                                                    )
               v.                                   )      20-CV-02342-LKG
                                                    )
DONALD KINCAID,                                     )
et al.,                                             )
                                                    )
                              Defendants.           )
                                                    )

             DEFENDANTS’ PETITION FOR RULE TO SHOW CAUSE FOR
            JOHN CALDWELL’S FAILURE TO COMPLY WITH SUBPOENA

       Defendants, Donald Kincaid, Bryn Joyce, and John Barrick (hereinafter the “Individual

Defendants”), by and through their attorneys, Nathan & Kamionski LLP, and pursuant to Rule 45

of the Federal Rules of Civil Procedure, hereby move this Court for an order to show cause why

witness John Caldwell (“Caldwell”) should not be held in contempt of Court for failure to comply

with a subpoena issued to him to testify at a deposition. In support of their motion, Individual

Defendants respectfully state as follows.

       1.      Plaintiffs, Alfred Chestnut, Ransom Watkins, and Andrew Stewart, initiated this

litigation by alleging that the Baltimore Police Department and Individual Defendants violated

their civil rights during their investigation of the November 18, 1983, murder of Dewitt Duckett.

On that date and in the days that followed, Detective Kincaid interviewed then, 15-year-old John

Caldwell regarding the murder. See Exhibit 1. BPD Office Reports (NK DEF 006995 and NK

DEF 007000).




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        2.     On November 23, 1983, Caldwell identified the Plaintiffs as the individuals

responsible for Dewitt Duckett’s death and later testified in front of the Grand Jury and at Trial in

accordance with the identifications he made. See Exhibit 2, excerpts of Caldwell Grand Jury and

Trial Testimony (NK DEF 019370-019385; NK DEF 008668-70).

        3.     On January 20, 2022, Mr. Caldwell was served by Individual Defendants’

Counsel’s non-attorney agent with a subpoena for a deposition to take place via zoom at the offices

of undersigned counsel on February 1, 2022, at 10:00 a.m. See Exhibit 3, Caldwell deposition

Subpoena and Proof of Service.

        4.     On February 1, 2022, Mr. Caldwell appeared, on time, for the deposition but began

to fall asleep shortly after Individual Defendants’ examination began. See Exhibit 4, Transcript of

Caldwell Deposition 19:2-20:15.

        5.     Mr. Caldwell informed the parties that he had not slept in two or three days. Ex. 4

11:19-12:4.

        6.     The parties agreed that the deposition should be suspended until the following

morning at 10:00 a.m. at the same location so that Mr. Caldwell could get some rest. Ex. 4 19:17-

22:5.

        7.      Mr. Caldwell confirmed the time and location of the deposition before departing.

        8.     On February 2, 2022, counsel for Plaintiff, undersigned counsel and a court reporter

again appeared at the designated time for the continuation of Mr. Caldwell’s deposition. However,

Mr. Caldwell failed to appear. The parties waited approximately an hour and made several attempts

to contact Mr. Caldwell to determine the reason for his absence. See Ex. 5, Statement on the Record

4:7-7:6.




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       9.      To date, Mr. Caldwell has not returned any of undersigned counsel’s phone calls

regarding his absence.

       10.     This Court “may hold in contempt a person who, having been served, fails without

adequate excuse to obey the subpoena or an order related to it.” Fed. R. Civ. P. 45(g).

       11.     Therefore, Defendants seek a rule to show cause against Mr. Caldwell for his failure

to appear for the continuation of his deposition scheduled on February 2, 2022.

       WHEREFORE, Defendants request that this Court enter an order to show cause why John

Caldwell should not be held in contempt of court for his failure to comply with the subpoena issued

to appear at his deposition, and for such other relief as this Court may deem appropriate.



DATE: February 18, 2022

                                                     Respectfully Submitted,

                                                     /s/ Mayer Engelsberg
                                                     Mayer Engelsberg Bar No. 21105
                                                     Avi T. Kamionski, Bar No. 20703
                                                     Shneur Nathan, Bar No. 20707
                                                     Michael J. Elliker Bar No. 20810
                                                     NATHAN & KAMIONSKI LLP
                                                     575 S. Charles Street Suite 402
                                                     Baltimore, MD 21201
                                                     (312) 612-1928
                                                     (312) 448-6099
                                                     akamionski@nklawllp.com
                                                     snathan@nklawllp.com
                                                     mengelsberg@nklawllp.com
                                                     melliker@nklawllp.com

                                                     Attorneys for Donald Kincaid, Bryn Joyce,
                                                     & John Barrick




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                              CERTIFICATE OF SERVICE


I, the undersigned attorney, hereby certify that I have caused true and correct copies of the

above and foregoing to be served on all counsel of record via to the Court’s CM/ECF system,

in accordance with the rules of electronic filing of documents, February 18, 2022.




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